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                    UNITED STATES DISTRICT COURT
                     DISTRICT OF MASSACHUSETTS


                                       )
AMERICAN ASSOCIATION OF                )
UNIVERSITY PROFESSORS,                 )
                                       )
AMERICAN ASSOCIATION OF                )
UNIVERSITY PROFESSORS        HARVARD   )
FACULTY CHAPTER,                       )
                                       )
AMERICAN ASSOCIATION OF                )
UNIVERSITY PROFESSORS AT NEW           )
YORK UNIVERSITY,                       )
                                       )     CIVIL ACTION NO.
RUTGERS AMERICAN ASSOCIATION OF        )     25-10685-WGY
UNIVERSITY PROFESSORS-AMERICAN         )
FEDERATION OF TEACHERS, and            )
                                       )
MIDDLE EAST STUDIES ASSOCIATION,       )
                                       )
                      Plaintiffs,      )
          v.                           )
                                       )
MARCO RUBIO, in his official           )
capacity as Secretary of State,        )
and the DEPARTMENT OF STATE,           )
                                       )
KRISTI NOEM, in her official           )
capacity as Secretary of Homeland      )
Security, and the                      )
DEPARTMENT OF HOMELAND SECURITY,       )
                                       )
TODD LYONS, in his official            )
capacity as Acting Director of         )
U.S. Immigration and                   )
Customs Enforcement,                   )
                                       )
DONALD J. TRUMP, in his official       )
Capacity as President of               )
the United States, and                 )
                                       )
UNITED STATES OF AMERICA,              )
                                       )
                      Defendants.      )
___________________ )
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YOUNG, D. J .                                                July 1, 2025


                                ADDENDUM
                                 to the
                             PRETRIAL ORDER

      No party shall rely upon or refer to any document not

already produced (or provided to the Court for in camera

inspection) save only for documents produced in the course of

discovery already scheduled.

SO ORDERED.




                                              DISTRICT J




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